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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


 STATE OF FLORIDA,

                 Plaintiff,

                     v.                        Case No. 8:21-cv-839-SDM-AAS

 XAVIER BECERRA, Secretary of the
 Dep’t of Health and Human Services,
 et al.,
               Defendants.



           DEFENDANTS’ SECOND MOTION TO EXTEND TIME
                 TO RESPOND TO THE COMPLAINT

      Defendants, Xavier Becerra, Secretary of Health and Human Services

(“HHS”); HHS; Rochelle Walensky, director of the Centers for Disease Control and

Prevention (“CDC”); the CDC; and the United States America, by and through

undersigned counsel, pursuant to Rule 6(b) of the Federal Rules of Civil Procedure,

respectfully request an approximately 30-day extension of time, until August 2, 2021,

to answer or otherwise respond to Plaintiff’s Complaint. Undersigned counsel has

conferred with Plaintiff’s counsel, who does not consent to the full relief requested,

as set forth in the certification below. In support of this motion, Defendants submit

the following:

   1. On April 8, 2021, Plaintiff filed a Complaint against Defendants seeking

      judicial review of a CDC order issued on October 31, 2020. ECF No. 1. The

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      United States attorney was served on April 13, 2021. The original deadline for

      Defendants to respond to the Complaint was June 14, 2021.

   2. Defendants previously moved to extend that deadline for two weeks, in

      consideration of the time spent on the intervening litigation over the motion

      for a preliminary injunction and motions for intervention, as well as time

      spent in mediation. See ECF No. 73. On June 8, 2021, the Court granted that

      motion, such that Defendants have until July 1, 2021 to respond to the

      Complaint. ECF No. 81.

   3. On June 18, 2021, the Court entered an order on the motion for a preliminary

      injunction. ECF No. 91. The 124-page order finds that Plaintiff has a

      likelihood of success on several of its claims and otherwise meets the standard

      for a preliminary injunction. Staying the injunction for one month, the Court

      enjoined the Defendants “from enforcing against a cruise ship arriving in,

      within, or departing from a port in Florida the conditional sailing order” and

      “later measures (technical guidelines, manuals, and the like).” The Court also

      invited Defendants to file a motion by July 2, 2021, for a “narrower injunction

      both permitting cruise ships to sail timely and remaining within CDC’s

      authority as interpreted” by the Court. Moreover, the Court ordered the

      parties to return to mediation before Magistrate Judge Porcelli.

   4. Defendants are still reviewing the Order, including consideration of whether

      to seek a narrower injunction as proposed by the Court, appellate review, or

      other relief, as well as any other options that may be available. Defendants
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      must also address any demands of additional mediation at a time and place as

      may be imminently ordered by Judge Porcelli. Each of these options

      consumes time of counsel and Defendants that would otherwise be spent on a

      response to the Complaint.

   5. Any response to the Complaint will need to take into account the Court’s

      lengthy preliminary-injunction order, which addresses several novel issues and

      may inform the course of any further briefing. And Defendants must first

      decide how to address the immediate deadlines related to the Court’s order,

      including the July 2 deadline to propose any narrowed injunction, as well as

      any intervening mediation activity, amid the ongoing threat to public health.

      The shorter, two-week extension proposed by Plaintiff’s counsel does not

      provide sufficient time for all of the other deadlines to be met, as well as

      completion of a response to the Complaint.

      THEREFORE, Defendants respectfully request that the Court extend the time

to file an answer or otherwise respond to the Complaint until August 2, 2021.

                            Local Rule 3.01(g) Certification

      Undersigned counsel conferred with counsel for the State of Florida by email

on June 23 and 24, 2021. Plaintiff’s counsel indicated that Florida consents to a two

week extension, but is unwilling to consent to a longer extension until it has a clearer

picture of Defendants’ plans regarding the preliminary injunction.


Dated: June 24, 2021                    Respectfully submitted,


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